Case 2:07-cv-08108-FMO-SH Document 630 Filed 07/19/18 Page 1 of 1 Page ID #:30426

                                UNITED STATES DISTRICT COURT
                               CENTRAL DISTRICT OF CALIFORNIA

                                     CIVIL MINUTES - GENERAL
 Case No.          CV 07-8108 FMO (SHx)                                Date     July 19, 2018
 Title             Alfred E. Mann Foundation For Scientific Research, et al. v. Cochlear
                   Corporation, et al.




 Present: The Honorable          Fernando M. Olguin, United States District Judge
          Vanessa Figueroa                                None                           None
                Deputy Clerk                   Court Reporter / Recorder               Tape No.
            Attorney Present for Plaintiffs:                   Attorney Present for Defendant:
                      None Present                                      None Present
 Proceedings:              (In Chambers) Order Re: Joint Request for Decision Pursuant to
                           Local Rule 83-9

       Due to the court’s caseload and congestion in the court’s calendar, the court hereby
advises the parties that it will not be able to issue a decision with respect plaintiffs’ Motion for
Judgment Entering the Jury’s Damages Award (Dkt. 579), defendant’s Renewed Motion for
Judgment as a Matter of Law [] (Dkt. 580), plaintiffs’ Motion for Enhanced Damages (Dkt. 602),
and plaintiff’s Motion to Strike Defendants’ Supplemental Damages Brief [] (Dkt. 616) by the
deadline set forth in the Court’s Order of June 18, 2018. The court hopes and intends to issue its
decision relating to the subject motions no later than August 31, 2018.




                                                                                  00      :      00
                                                         Initials of Preparer           vdr




CV-90 (06/04)                             CIVIL MINUTES - GENERAL                                Page 1 of 1
